                       CASE 0:12-cv-00243-DWF-JSM Document 23 Filed 08/14/13 Page 1 of 1
OAO450 (Rev. 5/85) Judgment in a Civil Case



                                                 UNITED STATES DISTRICT COURT
                                                                     District of Minnesota

Michael Busch and Dawn Busch,
                Plaintiff,                                                      JUDGMENT IN A CIVIL CASE

    V.
                                                                                        Case Number: 12-cv-243 DWF/JSM
Corey Welchlin, D.O. and
Fairmont Orthopedics and
Sports Medicine, P.A., d/b/a
Center for Specialty Care,

                                 Defendant,


      Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
      has rendered its verdict.

X Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or
  heard and a decision has been rendered.

      IT IS ORDERED AND ADJUDGED THAT:
      Defendant Fairmont Orthopedics and Sports Medicine, P.A., d/b/a Center for Specialty Care is
      DISMISSED WITH PREJUDICE, in the above-entitled matter, without costs or disbursements to
      any party.

August 14, 2013                                                                           RICHARD D. SLETTEN, CLERK
Date
                                                                                                 s/ Katie Thompson
                                                                                 (By)               Katie Thompson Deputy Clerk




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